Case 2:20-cv-05426-SRC-CLW Document 213 Filed 10/17/22 Page 1 of 4 PageID: 11974




                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


   BAUSCH HEALTH IRELAND
   LIMITED, et al.,                                       Civil Action No. 20-5426 (SRC) (CLW)
                                                                    (CONSOLIDATED)
                           Plaintiffs,
                                                               Document Electronically Filed
                   v.
                                                            FINDINGS OF FACT AND
   PADAGIS ISRAEL PHARMACEUTICALS                       CONCLUSIONS OF LAW AND ORDER
   LIMITED, et al.,                                       GRANTING MOTION TO SEAL

                           Defendants.


          THIS MATTER having been brought before the Court upon Plaintiffs’ Motion to Seal,

  by and through their counsel, for an Order sealing materials pursuant to Local Civil Rule 5.3(c);

  and the Court having reviewed the submissions in support of the Motion to Seal; and no parties

  having objected; the following shall constitute the findings of fact and conclusions of law and

  Order of the Court:

                                         FINDINGS OF FACT

          1.      On October 4, 6, and 7, 2022, a bench trial was held before the Honorable Stanley R.

  Chesler, U.S.D.J. Portions of the transcripts of that trial and certain trial exhibits, all of which have

  been identified in Plaintiffs’ Index in Support of Motion to Seal, contain information designated

  confidential by Plaintiffs (the “Confidential Information”).

          2.      The Confidential Information that is the subject of this Motion reveals, contains,

  and/or reflects Plaintiffs’ confidential and proprietary development, technical, and marketing

  information, as well as confidential financial information including revenues, profits, costs, sales,

  and other financial information of Plaintiffs. Further, this information is presently confidential

  and unavailable to the public.
Case 2:20-cv-05426-SRC-CLW Document 213 Filed 10/17/22 Page 2 of 4 PageID: 11975




          3.      Plaintiffs have a legitimate interest in maintaining the confidentiality of the

  Confidential Information, as Plaintiffs have stated that the information sought to be sealed is

  unavailable to the public and that Plaintiffs have taken substantial efforts to ensure that all such

  confidential information is maintained as confidential. The interests of the public that warrant

  sealing include the interest of not burdening litigants’ access to the Court by requiring public

  disclosure of confidential information as a condition of litigating their rights. No interest of the

  public warrants disclosure of the Confidential Information.

          4.      The clearly defined and serious injury that would result should the Confidential

  Information not be sealed include commercial injury and harm to competitive positions.

          5.      Plaintiffs have sought only to seal the limited portions of the transcripts and the

  trial exhibits identified in Plaintiffs’ Index in Support of Motion to Seal. There is no less restrictive

  means for preserving the confidentiality of this information.

          6.      There are no objections to the Motion to Seal.

                                      CONCLUSIONS OF LAW

          7.      This Court, having considered this matter pursuant to Local Civil Rule 5.3, and the

  submissions in support of the Motion, finds that Plaintiffs have satisfied their burden under Local

  Civil Rule 5.3(c) that the information sought to be sealed contains confidential information that

  warrants sealing.

          8.      Although there exists in civil cases a common law public right of access to judicial

  proceedings and records, the right of public access is not absolute and the presumption of public

  access is rebuttable. See In re Cendant Corp., 260 F.3d 183, 192, 194 (3d Cir. 2001). The party

  seeking to seal part of the judicial record bears the burden of demonstrating that “the material is

  the kind of information that courts will protect.” Miller v. Indiana Hosp., 16 F.3d 549, 551 (3d




                                                     2
Case 2:20-cv-05426-SRC-CLW Document 213 Filed 10/17/22 Page 3 of 4 PageID: 11976




  Cir. 1994) (quoting Publicker Indus., Inc. v. Cohen, 733 F.2d 1059, 1071 (3d Cir. 1984)). This

  Court has power to seal confidential information based on its inherent supervisory authority over

  its own records and files in order to deny public access to judicial records where those records

  might “become a vehicle for improper purposes.” In re Cendant Corp., 260 F.3d at 194.

          9.      Good cause to protect information from exposure exists where disclosure would

  result in a clearly defined and serious injury to the party seeking to overcome the presumption of

  access. Pansy v. Borough of Stroudsburg, 23 F.3d 772, 787-91 (3d Cir. 1994). “A well-settled

  exception to the right of access is the ‘protection of a party’s interest in confidential commercial

  information, such as a trade secret, where there is a sufficient threat of irreparable harm.’” In re

  Gabapentin Patent Litig., 312 F. Supp. 2d 653, 664 (D.N.J. 2004) (quoting Publicker, 733 F.2d at

  1071). As such, “[t]he presence of trade secrets or other confidential information weighs against

  public access and, accordingly, documents containing such information may be protected from

  disclosure.” Id. (citing Leucadia Inc. v. Applied Extrusion Techs., Inc., 998 F.2d 157, 166 (3d Cir.

  1993)); see Publicker, 733 F.2d at 1071 (“protection of a party’s interest in confidential

  commercial information” is an exception to the right of public access); Littlejohn v. Bic Corp., 851

  F.2d 673, 678 (3d Cir. 1988) (“[C]ourts may deny access to judicial records, for example, where

  they are sources of business information that might harm a litigant’s competitive standing.”)

          10.     Local Civil Rule 5.3(c) requires a showing of: (1) the nature of the materials or

  proceedings at issue; (2) the legitimate private or public interest which warrants the relief sought;

  (3) the clearly defined and serious injury that would result if the relief sought is not granted; and

  (4) why a less restrictive alternative to the relief sought is not available.

          11.     The Court finds that good cause exists for protecting Plaintiffs’ Confidential

  Information.




                                                     3
Case 2:20-cv-05426-SRC-CLW Document 213 Filed 10/17/22 Page 4 of 4 PageID: 11977




         12.     The Court finds that the Confidential Information identified in Plaintiffs’ Index in

  Support of Motion to Seal satisfies the standards set forth in Local Civil Rule 5.3.

         IT IS this 17th day of October, 2022,

         ORDERED that the Motion to Seal, (ECF No. 212), be and hereby is GRANTED; and

         IT IS FURTHER ORDERED that the Clerk of the Court shall maintain under seal the

  materials identified in Plaintiffs’ Index in Support of Motion to Seal.



                                                   s/ Cathy L. Waldor
                                                 ____________________________________
                                                     Hon. Cathy L. Waldor, U.S.M.J.




                                                   4
